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 DAVID B. GOLUBCHIK (SBN 185520)                                                FOR COURT USE ONLY
 JULIET Y. OH (SBN 211414)
 LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
 10250 Constellation Boulevard, Suite 1700
 Los Angeles, California 90067
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 Proposed Attorneys for Chapter 11 Debtor and
 Debtor-in-Possession

                                               UNITED STATES BANKRUPTCY COURT
                                                CENTRAL DISTRICT OF CALIFORNIA
                                                 SAN FERNANDO VALLEY DIVISION

 In re:                                                                         1:20-bk-11006-VK

 LEV INVESTMENTS, LLC,                                                          Chapter 11

                      Debtor and Debtor in Possession.


                                                                                NOTICE OF LODGMENT OF ORDER IN
                                                                                BANKRUPTCY CASE RE:

                                                                                REQUEST FOR ENTRY OF ORDER ALLOWING
                                                                                ORAL EXAMINATIONS OF DECLARANTS AT
                                                                                HEARING ON, EMERGENCY MOTION TO RECUSE
                                                                                DAVID GOLUBCHIK AND THE LAW FIRM OF
                                                                                LEVENE, NEALE, BENDER, YOO & BRILL LLP,
                                                                                FROM ALL FURTHER PARTICIPATION IN THIS
                                                                                CASE, ALL RELATED CASES, AND FOR AN
                                                                                ORDER DISGORGING ALL FUNDS RECEIVED BY
                                                                                THE FIRM DUE TO UNDISCLOSED CONFLICTED
                                                                                REPRESENTATION OF THE DEBTOR IN RE
                                                                                WEIBEL, INC. (9TH CIR. BAP 1994) 176 B.R. 209
                                                                                AND REQUIRING DECLARANTS TO APPEAR FOR
                                                                                SUCH ORAL EXAMINATIONS AT THE HEARING ON
                                                                                SUCH MOTION




       PLEASE TAKE NOTE that the order titled ORDER ALLOWING ORAL EXAMINATIONS OF DECLARANTS AT
HEARING ON, EMERGENCY MOTION TO RECUSE DAVID GOLUBCHIK AND THE LAW FIRM OF LEVENE,
NEALE, BENDER, YOO & BRILL LLP, FROM ALL FURTHER PARTICIPATION IN THIS CASE, ALL RELATED
CASES, AND FOR AN ORDER DISGORGING ALL FUNDS RECEIVED BY THE FIRM DUE TO UNDISCLOSED
CONFLICTED REPRESENTATION OF THE DEBTOR IN RE WEIBEL, INC. (9TH CIR. BAP 1994) 176 B.R. 209 AND
REQUIRING DECLARANTS TO APPEAR FOR SUCH ORAL EXAMINATIONS AT THE HEARING ON SUCH
MOTION was lodged on June 30, 2020 and is attached. This order relates to the motion which is docket number 56 and
the opposition which is docket number 71.




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
                                                                         Page 1
 December 2012
                                                                                             F 9021-1.2.BK.NOTICE.LODGMENT
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 1     DAVID B. GOLUBCHIK (SBN 185520)
       JULIET Y. OH (SBN 211414)
 2     LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
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 4     Telephone: (310) 229-1234
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 5     Email: DBG@LNBYB.COM; JYO@LNBYB.COM
 6     Proposed Attorneys for Chapter 11 Debtor and
       Debtor in Possession
 7
                                UNITED STATES BANKRUPTCY COURT
 8

 9                               CENTRAL DISTRICT OF CALIFORNIA

10                                SAN FERNANDO VALLEY DIVISION

11
       In re:                                         Case No. 1:20-bk-11006-VK
12

13                                                    Chapter 11
       LEV INVESTMENTS, LLC,
14                                                    ORDER ALLOWING ORAL
                                                      EXAMINATIONS OF DECLARANTS AT
15                                 Debtor.            HEARING ON, EMERGENCY MOTION TO
                                                      RECUSE DAVID GOLUBCHIK AND THE
16
                                                      LAW FIRM OF LEVENE, NEALE, BENDER,
17                                                    YOO & BRILL LLP, FROM ALL FURTHER
                                                      PARTICIPATION IN THIS CASE, ALL
18                                                    RELATED CASES, AND FOR AN ORDER
                                                      DISGORGING ALL FUNDS RECEIVED BY
19                                                    THE FIRM DUE TO UNDISCLOSED
                                                      CONFLICTED REPRESENTATION OF THE
20
                                                      DEBTOR IN RE WEIBEL, INC. (9TH CIR.
21                                                    BAP 1994) 176 B.R. 209 AND REQUIRING
                                                      DECLARANTS TO APPEAR FOR SUCH
22                                                    ORAL EXAMINATIONS AT THE HEARING
                                                      ON SUCH MOTION
23
                                                      [RELATES TO DOC. NO. 56]
24

25                                                    [Hearing To Be Set]

26

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 1            The Court, having considered that certain Opposition To, And Request For Entry Of Order

 2     Allowing Oral Examinations Of Declarants At Hearing On, Emergency Motion To Recuse David

 3     Golubchik And The Law Firm Of Levene, Neale, Bender, Yoo & Brill LLP, From All Further

 4     Participation In This Case, All Related Cases, And For An Order Disgorging All Funds Received By

 5     The Firm Due To Undisclosed Conflicted Representation Of The Debtor In Re Weibel, Inc. (9th Cir.

 6     BAP 1994) 176 B.R. 209 [Doc. No. 71] (the “Request”) filed by proposed counsel for the Debtor,

 7     Levene, Neale, Bender, Yoo & Brill L.L.P. (“LNBYB”), all papers filed by LNBYB in support of

 8     the Request, and the entire record of the Debtor’s case, and good cause appearing therefor,

 9            IT IS HEREBY ORDERED AS FOLLOWS:

10            1.      The Request is approved.

11            2.      Mariya Ayzenberg and Mike Kemel (together, the “Movants”) shall set the Emergency

12     Motion To Recuse David Golubchik And The Law Firm Of Levene, Neale, Bender, Yoo & Brill LLP,

13     From All Further Participation In This Case, All Related Cases, And For An Order Disgorging All

14     Funds Received By The Firm Due To Undisclosed Conflicted Representation Of The Debtor In Re

15     Weibel, Inc. (9th Cir. BAP 1994) 176 B.R. 209 [Doc. No. 56] (the “Recusal Motion”) for hearing in

16     compliance with Local Bankruptcy Rule 9013-1 or other applicable Local Bankruptcy Rule.

17            3.      All parties who have submitted declarations in support of, or in opposition to, the

18     Recusal Motion, including, without limitation, the Movants and David B. Golubchik, shall be required

19     to appear for oral examination at the hearing on the Recusal Motion.

20            IT IS SO ORDERED.

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                                   PROOF OF SERVICE OF DOCUMENT
 1   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067
 2
     A true and correct copy of the foregoing document entitled NOTICE OF LODGMENT OF ORDER will be
 3   served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
     and (b) in the manner stated below:
 4
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
 5   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
     hyperlink to the document. On June 30, 2020, I checked the CM/ECF docket for this bankruptcy case or
 6   adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
     receive NEF transmission at the email addresses stated below:
 7
         •     Katherine Bunker kate.bunker@usdoj.gov
 8       •     John Burgee jburgee@bandalaw.net
         •     Caroline Renee Djang (TR) caroline.djang@bbklaw.com,
 9             C190@ecfcbis.com;sansanee.wells@bbklaw.com;wilma.escalante@bbklaw.com
         •     James R Felton jfelton@gblawllp.com, nknadjian@gblawllp.com
10       •     David B Golubchik dbg@lnbyb.com, stephanie@lnbyb.com
         •     Juliet Y Oh jyo@lnbrb.com, jyo@lnbrb.com
11       •     Thomas D Sands thomas@thesandslawgroup.com, thomas@thesandslawgroup.com
         •     Michael Shemtoub michael@lexingtonlg.com
12       •     David A Tilem davidtilem@tilemlaw.com,
               DavidTilem@ecf.inforuptcy.com;joanfidelson@tilemlaw.com;JoanFidelson@ecf.inforuptcy.com;
13             DianaChau@tilemlaw.com
         •     United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
14
     2. SERVED BY UNITED STATES MAIL: On June 30, 2020, I served the following persons and/or
15   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
     and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
16   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
     completed no later than 24 hours after the document is filed.
17
     None.
18                                                                           Service information continued on attached page

19   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
     EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
20   on June 30, 2020, I served the following persons and/or entities by personal delivery, overnight mail
     service, or (for those who consented in writing to such service method), by facsimile transmission and/or
21   email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
     mail to, the judge will be completed no later than 24 hours after the document is filed.
22   Served by Overnight Mail
     Hon. Victoria S. Kaufman
23   United States Bankruptcy Court
     21041 Burbank Boulevard, Suite 354 / Ctrm 301
24   Woodland Hills, CA 91367
25   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
     true and correct.
26
      June 30, 2020                     Stephanie Reichert                              /s/ Stephanie Reichert
27
      Date                              Type Name                                       Signature
28

      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

     June 2012                                                                    F 9013-3.1.PROOF.SERVICE
